108 F.3d 1385
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Jaime Salomon HENRIQUEZ-CASTILLO, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 95-70784.
    United States Court of Appeals, Ninth Circuit.
    Submitted March 11, 1997.*Decided March 13, 1997.
    
      Before:  SNEED, LEAVY and THOMAS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      In accordance with Duldulao v. INS, 90 F.3d 396 (9th Cir.1996), we dismiss this petition for lack of jurisdiction.
    
    
      3
      DISMISSED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4.  The government's request for oral argument is denied
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    